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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 21-CR-20495-KMW


  UNITED STATES OF AMERICA,

                 Plaintiff,

  v.

  MICHAEL VAN NOSTRAND and
  STRICTLY REPTILES, INC.,

              Defendants.
  ______________________________________/

          DEFENDANTS’ UNOPPOSED MOTION TO CONTINUE SENTENCING

         Defendants Michael Van Nostrand and Strictly Reptiles, Inc., by and through undersigned

  counsel, respectfully move this Court for a thirty-day continuance of their sentencing, and state:

         1.      On September 30, 2021, the government filed an Information against Mr. Van

  Nostrand and his wholly owned corporation, Strictly Reptiles, Inc., charging them with a single

  count of conspiracy to unlawfully sell turtles in violation of 18 U.S.C. § 371. D.E. 1. Mr. Van

  Nostrand and Strictly Reptiles subsequently pleaded guilty to the Information, and sentencing was

  scheduled for February 2, 2022. D.E. 14.

         2.      With sentencing now just fifteen days away, Defendants have yet to receive their

  respective Presentence Investigation Reports. The Reports were due to be disclosed on December

  29, 2021. The Undersigned has conferred with the U.S. Probation Officer and understands that the

  Office is working to complete the Reports but has experienced delays due to COVID disruptions

  and other staffing issues.
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         3.      Beyond that, Mr. Van Nostrand – who lost one of his kidneys in 2015 to renal cell

  carcinoma – was discovered to have a renal oncocytoma in his remaining kidney that is increasing

  in size and that his doctor has described as “concerning for malignancy.” His doctor has advised

  that Mr. Van Nostrand must undergo surgical ablation of the oncocytoma in the near term, although

  his surgery may be delayed in the short term due to the current COVID landscape.

         4.      A thirty-day continuance of sentencing will allow Defendants sufficient time to

  receive and, if necessary, object to the Presentence Investigation Report, and is likely to provide

  Mr. Van Nostrand with more clarity on the nature of his health issues and what he can expect in

  terms of prognosis and treatment.

         5.      Undersigned counsel has discussed this request with counsel for the government,

  who has no objection.

         6.      Accordingly, Defendants Michael van Nostrand and Strictly Reptiles respectfully

  request that the Court grant their Motion to Continue Sentencing for thirty days. Counsel for the

  government is unavailable on Friday, March 4, 2022.

                                                       Respectfully submitted,

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                                                      By: /s Jeffrey E. Marcus

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                                               Attorneys for Mr. Van Nostrand

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                                    CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing document was served on

  January 18, 2022 via transmission of Notices of Electronic Filing generated by CM/ECF to all

  parties registered to receive notice in this case.

                                                           /s/ Jeffrey E. Marcus
                                                           Jeffrey E. Marcus




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